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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

JOHN HICKSON,                   )
                        Plaintiff
                                )
                                )
v.                              )                        C.A. NO. 14-40069-TSH
                                )
CITY OF WORCESTER, a municipal  )
Corporation, WORCESTER CITY     )
MANAGER MICHAEL V. O’BRIEN,     )
WORCESTER CHIEF OF POLICE GARY )
J. GEMME, P.O. JENSEN MARTINEZ, )
P.O. STEVEN G. PIGNATARO,       )
P.O. MICHAEL SULLIVAN, and      )
P.O. JOSEPH FRANCESE,           )
                  Defendants    )


                       DEFENDANTS’ MOTION IN LIMINE
             TO PRECLUDE REFERENCE TO EXCESSIVE FORCE OR ABUSE


        Defendants, Police Officers Joseph Francese, Jensen Martinez, Stephen Pignataro and

Michael Sullivan, hereby move this Court for an order to preclude any references by any lay

witnesses and Plaintiff, or by Plaintiff’s counsel, to the use of “excessive force” or “abuse” by any

Defendant.

        Whether there is a use of excessive force by a police officer is a determination that can only

be made by an expert who has evaluated the use of force, the circumstances present and the

policies and training that govern the conduct of the police officer. There has been no disclosure of

such an expert by Plaintiff. Therefore, any such characterization by a lay witness of the officers’

conduct would be as a result of an unqualified judgment, without the proper foundation, as well as

inflammatory and prejudicial to the Defendants. Any such testimony would also amount to a legal

conclusion and usurp the jury’s role as the ultimate fact-finder with regard to whether force was

excessive, in violation of Plaintiff’s constitutional rights.
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       WHEREFORE, Defendants move this Court to grant this Motion in Limine to Preclude

Reference to “excessive force” or “abuse.”


                                                  JOSEPH FRANCESE
                                                  JENSEN MARTINEZ
                                                  STEPHEN PIGNATARO
                                                  MICHAEL SULLIVAN

                                                  By their attorneys,

                                                  David M. Moore,
                                                  City Solicitor

                                                  /s/ Wendy L. Quinn
                                                  Wendy L. Quinn (BBO# 653954)
                                                  Kevin M. Gould (BBO #661545)
                                                  Assistant City Solicitors
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                                                  Worcester, MA 01608
                                                  (508) 799-1161
                                                  quinnwl@worcesterma.gov
                                                  gouldk@worcesterma.gov


                                 CERTIFICATE OF SERVICE

       I, Wendy L. Quinn, hereby certify that, on this 9th day of June, 2017, the within
Defendants’ Motion in Limine to Preclude Reference to Excessive Force or Abuse was served
upon all counsel of record through this Court’s electronic filing system as identified on the
Notice of Electronic Filing.

                                                  /s/ Wendy L. Quinn
                                                  Wendy L. Quinn
                                                  Assistant City Solicitor




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